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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MISSOURI
                                    KANSAS CITY DIVISION
    In re:                                                  §
                                                            §          Chapter 11
    Mid-States Supply Company, Inc.,                        §
                                                            §          Case No. 16-40271-CAN-11
                          Debtor.                           §

                              NOTICE OF PROPOSED SETTLEMENT

             Pursuant to Section 7.5 of the Joint Chapter 11 Plan of Liquidation filed at Docket

Number 555 (“Plan”), as confirmed by the Court’s Order: (A) Confirming Joint Chapter 11 Plan

of Liquidation and (B) Approving Corrected Disclosure Statement with Respect to Joint Chapter

11 Plan of Liquidation [Dkt. 586] (“Confirmation Order”), Areya Holder Aurzada, as

Liquidating Trustee of the Liquidating Trust, (the “Liquidating Trustee”), by and through the

undersigned counsel, hereby files this Notice of Proposed Settlement (the “Notice”). In support

of the Notice, the Liquidating Trustee respectfully states as follows:

             1.     Under Section 7.5 of the confirmed Plan, all proposed settlements of Avoidance

Actions1 where the asserted amount of the Avoidance Action exceeds $100,000 is subject to

approval of the Bankruptcy Court in accordance with the following procedure: (a) the Trustee

shall give notice of the proposed settlement to the Post-Effective Date Limited Notice List; (b)

the parties receiving notice shall have ten (10) days in which to file objections to the proposed

settlement; (c) if no objections are timely filed, the Trustee may consummate such settlement

without further order of the Bankruptcy Court or may, at the Trustee’s election, request entry of

an order approving the proposed settlement by filing such proposed order under certificate of


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  Unless otherwise specifically defined herein, terms used in this Notice shall bear the meanings assigned to such
terms in the Plan.


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counsel with no further notice to any party; and (d) if any objection is timely filed, the Trustee

shall notice the proposed settlement for hearing upon at least five (5) Business Days’ notice.

          2.        The Trustee has reached a settlement with Forum Energy Technologies, Inc. dba

Forum Valve Solutions (“Forum”) and Forum US, Inc.2 (“Forum US”) (Forum and Forum US

may be collectively referred to herein as the “Defendants”). The settlement resolves the

Trustee’s Avoidance Actions against the Defendants.                  The terms of such settlement are

documented in the proposed Settlement Agreement attached hereto as Exhibit 1.

          3.        The value of the claims asserted against the Defendants exceeds $100,000.

Accordingly, the Trustee hereby provides notice of such proposed settlement pursuant to

Section 7.5 of the Plan. Parties under the Post-Effective Date Limited Notice List (all of the

parties included in the Service List attached hereto) shall have ten (10) calendar days from the

date of this Notice to file any responses and serve the same on counsel to the Trustee. If none

are timely filed, the Trustee will consummate the terms of the Settlement Agreement without

further order of the Bankruptcy Court or notice to any other party.

          4.        The Trustee and Defendants have engaged in good-faith, arms-length settlement

negotiations to avoid the costs, expenses, risks, uncertainties, and burdens of litigation over the

Avoidance Action between the Trustee and Defendants. The Trustee believes that the proposed

settlement is in the best interests of the bankruptcy estate, the Liquidating Trust and the

creditors/beneficiaries thereof; thus, the Settlement Agreement should be approved. The Trustee

believes that consummation of the terms of the Settlement Agreement is an exercise of sound

business judgment and serves the paramount interests of the Trustee’s constituents. The

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  ABZ Valves & Controls Inc. (“ABZ”) was merged into Forum US, Inc. on December 31, 2011 (the “ABZ
Acquisition”). As a result of the ABZ Acquisition, and for purposes of the Settlement Agreement, Forum US is the
successor in interest to ABZ and therefore acquires any and all rights and interests ABZ would have in connection
with the Settlement Agreement, specifically including the Claims (as “Claims” is defined in the Settlement
Agreement).


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Settlement Agreement provides value to the Liquidating Trust and its beneficiaries. As such, the

proposed settlement should be approved and the Trustee should be authorized to perform the

terms of the Settlement Agreement.

Dated: April        , 2018                  Respectfully Submitted,

                                            /s/ Thomas C. Scannell
                                            Marcus A. Helt (MO 50374)
                                            Thomas C. Scannell (TX 24070559) (Pro Hac Vice)
                                            FOLEY & LARDNER LLP
                                            2021 McKinney Avenue, Suite 1600
                                            Dallas, TX 75201
                                            Telephone: (214) 999-3000
                                            Facsimile: (214) 999-4667
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                                            tscannell@foley.com

                                            COUNSEL TO THE LIQUIDATING
                                            TRUSTEE




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                                         CERTIFICATE OF SERVICE

        I hereby certify that on April , 2018, a true and correct copy of the foregoing Notice
was (i) served via First Class Mail on the parties listed in the Service List set forth herein below,
and (ii) filed electronically with the Clerk of Court using the CM/ECF system. Represented
parties received notice electronically via the Court’s Electronic System.

                                                          /s/ Thomas C. Scannell
                                                          Thomas C. Scannell

                            Party                                         Contact Information

Areya Holder Aurzada, Liquidating Trustee              800 W. Airport Freeway, Suite 800
                                                       Irving, Texas 75062
                                                       Fax: 972-438-8825
                                                       areya@holderlawpc.com

                                                       With a copy to:

                                                       Gardere Wynne Sewell LLP
                                                       c/o Marcus A. Helt
                                                       2021 McKinney Avenue, Suite 1600
                                                       Dallas, TX 75201
                                                       mhelt@gardere.com
Office of the United States Trustee                    U.S. Trustee
                                                       Room 3440
                                                       400 East 9th Street
                                                       Kansas City, MO 64106-1910

                                                       c/o: Sherri L. Wattenbarger
                                                       Trial Attorney
                                                       Sherri.wattenbarger@usdoj.gov
                                                       Fax: 816-512-1967
Cameron International Corporation                      1333 West Loop South, Suite 1700
                                                       Houston, Texas 77027
                                                       c/o: Xavier D. Jordan

                                                       With a copy to:

                                                       Carl Dore
                                                       Dore Law Group, P.C.
                                                       17171 Park Row, Suite 160
                                                       Houston, Texas 77084
                                                       Fax: 281-200-0751
Global Stainless Supply and Global Pipe Supply         8900 Railwood Drive
                                                       Houston, Texas 77078
                                                       c/o: Sonia McNeill
Lamons Gasket Company                                  c/o TriMas Corporation
                                                       Attention: Andrew Hodges
                                                       39400 Woodward Avenue, Suite 130
                                                       Bloomfield Hills, Michigan 48304




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